      Case 8:25-cv-00201-DLB           Document 97-9       Filed 06/27/25      Page 1 of 5



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 CASA, INC. et al.,

                Plaintiffs,

           v.
                                                        Case No.: 8:25-cv-00201-DLB
 DONALD J. TRUMP et al.,

                Defendants.




                              DECLARATION OF JOSEPH MEAD


       I, Joseph Mead, submit this declaration pursuant to 28 U.S.C. § 1746 and declare as

follows:

   1. I am more than 18 years of age and competent to testify, upon personal knowledge and

knowledge related to me by my colleagues, to the facts set forth herein.

   2. I am Special Litigation Counsel at the Institute for Constitutional Advocacy and Protection

at Georgetown University Law Center (ICAP), and I am one of the lawyers for the named Plaintiffs

and the putative class members in this case. I submit this Declaration on behalf of ICAP in support

of Plaintiffs’ Motion for Class Certification.

   3. ICAP is an institute based at the Georgetown University Law Center in Washington, D.C.

ICAP is composed of experienced litigators and professionals, with a mission to defend U.S.

constitutional rights and values. ICAP is prepared to devote considerable and sufficient resources

to prosecute this case.
      Case 8:25-cv-00201-DLB           Document 97-9        Filed 06/27/25      Page 2 of 5



   4. ICAP has litigated many broad constitutional and other challenges to federal, state, and

local laws and policies across the country and at every level of the federal and state court systems,

including class actions and putative class actions, actions with dozens of plaintiffs, and actions

seeking facial invalidation of a law. E.g., Grants Pass v. Johnson, 603 U.S. 520 (2024) (class

action brought by people experiencing homelessness against city law); Frazier v. Prince George’s

Cnty., Maryland, 86 F.4th 537 (4th Cir. 2023) (putative class challenge to unlawful pretrial

detention practices); Soderberg v. Carrion, 999 F.3d 962 (4th Cir. 2021) (facial challenge to state

law restricting dissemination of court recordings); Barred Business v. Kemp, 740 F. Supp. 3d 1309

(N.D. Ga. 2024) (facial challenge to state law restricting charitable bail funds); Oklahoma State

Conf. of NAACP v. O’Connor, 569 F. Supp. 3d 1145, 1148 (W.D. Okla. 2021) (facial challenge to

state anti-protest law); Southeast Synod of the Evangelical Church in America et al. v. Finney et

al., Case No. 25-684 (M.D. Tenn. 2025) (putative class action seeking invalidation of state law

that criminalizes “harboring” undocumented immigrants).

   5. ICAP has specific experience challenging federal government immigration-related

policies. E.g., Casa De Maryland, Inc. v. Trump, 414 F. Supp. 3d 760 (D. Md. 2019) (obtaining

preliminary injunction against DHS’s Public Charge rule), rev’d and remanded, 971 F.3d 220 (4th

Cir. 2020), vacated for rehearing en banc, 981 F.3d 311 (4th Cir. 2020); E.B. v. U.S. Dep’t of

State, 583 F. Supp. 3d 58 (D.D.C. 2022) (obtaining vacatur of Department of State’s Diversity

Visa rule); R.V. et al v. Mnuchin et al., Docket No. 8:20-cv-01148 (D. Md. 2020) (challenging, on

behalf of a putative class of children, the constitutionality of CARES Act provision that denied

children citizens access to federal benefits based on immigration status of their parents); Mennonite

Church USA et al., v. Dep’t Homeland Security, Docket No. 1:25-cv-00403 (D.D.C. 2025)

(representing broad coalition of faith-based organizations challenging new DHS policy allowing


                                                 2
      Case 8:25-cv-00201-DLB          Document 97-9        Filed 06/27/25     Page 3 of 5



immigration enforcement actions in houses of worship and other sacred spaces); CASA v. Noem,

Case No. 25-1484 (D. Md. 2025) (challenging DHS’s termination of TPS for Cameroonians and

Afghans).

   6. ICAP attorneys are accomplished professionals with considerable background and

expertise in litigating constitutional cases and other cases involving government policy. The ICAP

attorneys who have been involved with this case collectively have several decades of experience

litigating constitutional and civil rights cases. Moreover, the members of this team have spoken

and published widely on constitutional law and federal litigation, and teach upper-level law

students about constitutional public interest litigation. The following paragraphs provide a brief

summary of the qualifications and experience of ICAP lawyers currently working on this case.

   7. Mary B. McCord is the Executive Director of ICAP. Ms. McCord co-founded ICAP in

2017 after more than two decades at the U.S. Department of Justice. There, she was an Assistant

United States Attorney for the District of Columbia between 1994 and 2014; the Principal Deputy

Assistant Attorney General for National Security between 2014 to 2017, and the Acting Assistant

Attorney General for National Security between 2016 and 2017. Since co-founding ICAP, Ms.

McCord has been involved in litigating and decision-making in every case brought by or defended

by ICAP, including each of the cases mentioned in this declaration and every class action brought

by ICAP. Ms. McCord clerked for a United States District Court Judge.

   8. Rupa Bhattacharyya is the Legal Director of ICAP. Ms. Bhattacharyya has been practicing

law, primarily as a litigator, since 1995. Prior to joining ICAP in 2022, Ms. Bhattacharyya held

various positions in the federal government, including serving as the Special Master for the

September 11th Victim Compensation Fund, as a Director of the Civil Division’s Torts Branch

(Constitutional and Specialized Tort Litigation Section), and as a Trial Attorney and Senior Trial


                                                3
         Case 8:25-cv-00201-DLB         Document 97-9        Filed 06/27/25      Page 4 of 5



Counsel in the Civil Division’s Federal Programs Branch at the United States Department of

Justice. Ms. Bhattacharyya clerked for a United States District Court Judge.

   9. William Powell is senior counsel at ICAP. Mr. Powell has been practicing law since 2019.

At ICAP, he has litigated a variety of constitutional challenges to federal and state policies,

including in several matters concerning immigration, with significant experience litigating before

all three levels of the federal judiciary. Before joining ICAP, Mr. Powell was a Bristow Fellow in

the Office of the Solicitor General of the United States at the Department of Justice, where he

helped litigate cases in the Supreme Court on behalf of the federal government. He clerked for a

United States District Court Judge and a United States Court of Appeals Judge. Before his

clerkships, Mr. Powell served as a legal fellow at the Reporters Committee for Freedom of the

Press.

   10. Alexandra Lichtenstein is counsel at ICAP. Ms. Lichtenstein has been practicing law since

2020. Prior to joining ICAP in 2023, Ms. Lichtenstein worked as an Appellate Litigation Fellow

in the Office of the Solicitor General for the District of Columbia, handling appeals and writing

amicus briefs on a variety of issues. Ms. Lichtenstein clerked for a United States District Court

Judge and a United States Court of Appeals Judge.

   11. I have practiced law since 2007, with a primary focus in constitutional litigation in federal

courts. I have litigated a large number of constitutional challenges against federal, state, and local

laws, including class actions against the federal government on both the plaintiffs’ and the

defendants’ side. Before coming to ICAP, I was a tenured professor who taught civil procedure,

administrative law, and other relevant courses. Before that, I was an attorney at the Department of

Justice’s Federal Program Branch, and served as a law clerk to two federal judges.




                                                  4
      Case 8:25-cv-00201-DLB           Document 97-9         Filed 06/27/25    Page 5 of 5



   12. ICAP is aware of the responsibilities that come with serving as class counsel, and is ready

to accept that responsibility and vigorously fight for the rights of all class members. ICAP is not

aware of any conflict of interest or other obstacle that would prevent the vigorous and adequate

representation of the class.

I declare under penalty of perjury that the foregoing is true and correct.



DATED: June 25, 2025


                                                                       Joseph Mead




                                                  5
